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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

UNITED STATES OF AMERICA,
v. Criminal Action No. 3:18CR135
CHRISTOPHER WILLS,
Petitioner.
MEMORANDUM OPINION
Christopher Wills, a federal inmate proceeding pro se, filed this 28 U.S.C. § 2255 Motion
(“§ 2255 Motion,” ECF No. 130). Wills demands relief upon the following grounds:!

Claim One Wills was denied the effective assistance of counsel when counsel
failed to file a motion to suppress. (§ 2255 Mot. 4.)

Claim Two Wills’s conviction for possession of a firearm by a convicted felon
must be vacated in light of Rehaif v. United States, 139 S. Ct. 2191
(2019). (§ 2255 Mot. 19.)

Claim Three Wills failed to receive effective assistance of counsel during the
plea-bargaining process because counsel failed to pursue a
conditional plea which would have allowed Wills to pursue and
preserve the suppression issues raised in Claim One. (/d. at 20.)

Claim Four (a) Wills failed to receive the effective assistance of counsel because
“counsel falsely informed [Willis] that no appeal could be taken.”
(Id. at 22.)
(b) Wills instructed counsel to file an appeal and counsel refused to
file an appeal. (/d. at 22; ECF No. 146, at 1.)

As explained below, with the exception of Claim Four (b) the foregoing claims lack merit and

will be DISMISSED.

' The Court employs the pagination assigned by the CM/ECF docketing system. The Court
corrects the capitalization and punctuation in the quotations from the parties’ submissions.
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I. PERTINENT FACTUAL AND PROCEDURAL HISTORY

On December 4, 2018, Wills was charged in a Superseding Indictment with: conspiracy
to possess with intent to distribute cocaine (Count Two); possession with intent to distribute
cocaine (Count Three); possession of a firearm by a convicted felon (Count Four); and possession
of a firearm in furtherance of furtherance of a drug trafficking crime (Count Five). (ECF No. 31,
at 2-4.) On January 11, 2019, pursuant to a written Plea Agreement, Wills pled guilty to Counts
Three and Four. (ECF Nos 64, 65.) In the Statement of Facts filed in conjunction with the Plea
Agreement, Wills acknowledged that the facts contained in Counts Three and Four of the
Superseding Indictment and the following facts were true and the Government could have proven
them beyond a reasonable doubt had the matter gone to trial:

1. On April 28, 2018, Richmond Police officers performed a traffic stop on a
vehicle driven by co-defendant Keith Gasque (“K. Gasque”). During the traffic
stop, law enforcement recovered from a bag in the vehicle two firearms.

2. Officers also recovered from the vehicle a firearm magazine from the center
console. They attempted to fit the firearm magazine in the two firearms, but found
that the magazine did not fit. Accordingly, the officers sought and received a search
warrant for K. Gasque’s home at 2812 Geneva Drive, Richmond, Virginia.

3. On May 3, 2018, officers executed a search warrant at 2812 Geneva Drive.
When they arrived, they encountered Regina Gasque (“R. Gasque”). After
informing her of the basis for the search warrant, the officers began to search the
home. They arrived at a locked bedroom in the home which R. Gasque admitted
belonged to her and Christopher Wills (“Wills”). She stated that only she and Wills
possessed the key to this bedroom.

4, When officers searched the bedroom, they found underneath the mattress a
Charter Arms Pink Lady 38 caliber revolver, serial number 15—08455, which R.
Gasque immediately admitted belonged to her.

5. The officers also discovered four additional firearms in the bedroom on the
side of the bed that R. Gasque identified as belonging to Wills. Those firearms
were a Taurus model 851, .38 caliber revolver, serial number BS39817; a Ruger
model SR22, .22 caliber pistol, serial number 361—15346; a High Point model JHP,
45 caliber pistol, serial number X4176717; and a High Point model C9, 9mm
caliber pistol serial number P164859. Each of the firearms recovered from the
bedroom travelled in and affected interstate commerce.

6. In the same location as the firearms, officers found a black bag containing
several ounces of suspected cocaine, packaged in one-ounce quantities. Laboratory
reports confirmed the substance to be approximately 251.3 grams of cocaine. In
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the top drawer of the dresser drawer in the room law enforcement also located a

digital scale, a plastic cup and spoon with suspected cocaine residue, and Wills’s

identification card.

7 On or about November 30, 2018, law enforcement arrested Wills pursuant

to the indictment in this case. After being read his Miranda rights, Wills admitted

to owning the drugs in the bedroom and to having engaged in drug trafficking over

the previous several years.

8. Prior to May 3, 2018, Wills had been convicted of a crime punishable by

greater than one year of incarceration.
(ECF No. 66, at 1-2.) On April 30, 2019, the Court sentenced Wills to 109 months of
imprisonment. (ECF No. 122, at 2.)

Ii. ANALYSIS

To demonstrate ineffective assistance of counsel, a convicted defendant must show, first,
that counsel’s representation was deficient, and second, that the deficient performance prejudiced
the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). To satisfy the deficient
performance prong of Strickland, the convicted defendant must overcome the “‘strong
presumption’ that counsel’s strategy and tactics fall ‘within the wide range of reasonable
professional assistance.” Burch v. Corcoran, 273 F.3d 577, 588 (4th Cir. 2001) (quoting
Strickland, 466 U.S. at 689). The prejudice component requires a convicted defendant to “show
that there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the
proceeding would have been different. A reasonable probability is a probability sufficient to
undermine confidence in the outcome.” Strickland, 466 U.S. at 694. In analyzing ineffective
assistance of counsel claims, it is not necessary to determine whether counsel performed
deficiently if the claim is readily dismissed for lack of prejudice. Jd. at 697.

A. Alleged Ineffective Assistance with Respect to a Motion to Suppress

In Claim One, Wills contends that counsel performed deficiently by failing to move to

suppress the items recovered from the room he shared with R. Gasque. Wills raises a number of
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theories as to why these items were subject to suppression. Before turning to these ultimately
frivolous theories for suppression, it is appropriate to recite the relevant facts regarding the search
warrant and its execution.

The affidavit in support of the search warrant stated, in pertinent part:

On 04/28/2018, at approximately 0130 hours, Officer Odic and myself,
Knudsen, initiated a traffic stop at the intersection of E. Broad Rock Rd. and
Lawson St. We stopped Mr. Keith Isiah Gasque for a window tint violation. Mr.
Gasque provided us his identification. Mr. Gasque’s information was run for
warrants and none were found. Based on Mr. Gasque’s demeanor he was asked to
step out of the vehicle. He was advised that a protective sweep would be conducted.

The protective sweep was conducted and a magazine for a handgun loaded
with bullets was found in the center console. We attempted to handcuff Mr. Gasque
for investigative detention. Mr. Gasque ran from us and was caught soon after a
short pursuit.

He said the vehicle he was driving was his mother’s vehicle. The registered
owner of the vehicle was Regina Gasque. Regina Gasque’s address listed in DMV
is 2812 Geneva Dr. Mr. Gasque stated that he lived at 2812 Geneva Dr. Mr.
Gasque’s information was run in various other Police databases and all data bases
listed Mr. Gasque’s address as 2812 Geneva Dr.

A search of the vehicle was conducted. While searching the vehicle a
backpack in the back seat was found. The backpack contained two loaded hand
guns and an empty extended magazine. The empty extended magazine did not fit
into either weapon, and was a different manufacturer. Based on my training and
experience dealing with firearms, I recognized the extended magazine to belong to
a Glock firearm, while the two firearms that were recovered were a Smith and
Wesson and Girsan, respectively. Mr. Gasque’s information was then run through
Teletype and it was confirmed that Mr. Gasque is a convicted felon.

In my experience, as well as Detective Odic’s experience, I know that
individuals will often store firearms at their places of residence. Mr. Gasque was
in possession of two firearms, and a magazine belonging to a third firearm that was
not recovered at the time of his arrest. This would lead me to believe that the
missing firearm is at Mr. Gasque’s residence of 2812 Geneva Dr.

Given that Mr. Gasque stated that he resides at 2812 Geneva Dr., Richmond,
VA 23224, the vehicle’s registration and DMV has 2812 Geneva Dr. as the listed
address and all Police databases had Mr. Gasque’s address as 2812 Geneva Dr., it
is my belief that a search of 2812 Geneva Dr. will yield further evidence of
possession of a firearm by a convicted felon.

This affiant has been an officer with the City of Richmond Police
Department for 8 years. This affiant has taken classes taught at the Richmond
Police Department on the use of firearms, including familiarization and identifying
various firearm types. This affiant has made numerous firearm arrests.
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Detective Odic has been an officer with the City of Richmond Police

Department for two and a half years. Detective Odic has received training through

the Richmond Police Academy in recognition and use of firearms. Detective Odic

has seized upwards of 70 firearms throughout his career, and these seizures have

led to arrests and convictions in the General District and Circuit Courts.

(ECF No. 135-1, at 5-6 (paragraph header removed).) The police obtained a search warrant that
authorized them to search “2812 Geneva Dr., Richmond VA 23224” for “[flirearms, ammunition,
and any evidence related to the possession of firearms.” (/d. at 1.) Thereafter, as recounted above,
the police searched the locked bedroom Wills shared with R. Gasque at 2812 Geneva Dr in
Richmond and recovered firearms and cocaine.

Initially, Wills contends that the search of his locked room violated his Fourth Amendment
rights because “Regina Gasque made it abundantly clear to the officers that her son — Keith
Gasque, lacked access to the aforesaid locked room. Consequently, the officers exceeded the
particularity bound of the search warrant since the offense being investigated” pertained to whether
Keith Gasque illegally possessed firearms. (ECF No. 130, at 6-7). Relatedly, Wills asserts that
“[t]he fruitless search of Keith Gasque’s bedroom marked the end of the magistrate’s permission
for [the police] to search for a suspected firearm.” (/d. at 7.) The search warrant clearly permitted
the police to search the entire residence at 2812 Geneva Drive for firearms and ammunition. The
fact that Wills and his girlfriend locked their bedroom door and Ms. Gasque indicated that Keith
Gasque did not have access to their bedroom does not alter that fact. See United States v. Canestri,
518 F.2d 269, 273-74 (2d Cir. 1975) (citation omitted) (some internal quotation marks omitted)
(“The warrant directed that the entire house be searched. ... [T]o exclude the storeroom from the
scope of the warrant on the facts of this case, would be to suggest that the purposes of a search

warrant could be frustrated by the mere declaration of the owner of a one-family residence that

one of the rooms therein ‘belongs’ to a party not named in the warrant.”).
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Next, Wills contends that the search that revealed the cocaine exceeded the bounds of the
search warrant. Specifically, Wills contends that “[t]he search warrant only authorized officers to
search for a ‘Glock’ type firearm. The containers in which the substances were stored were not
capable of concealing a Glock type firearm.” (ECF No. 130, at 11.) Wills misreads the warrant.
The warrant clearly authorized the search for firearms and ammunition. The record does not
indicate that the black bag or other container(s) in which the cocaine was discovered could not
also have served as a hiding place for ammunition.

Finally, Wills contends that “[t]he discovery of two pistols and an ammunition magazine
for an automatic type handgun did not provide ‘probable cause’ for issuance of a general search
warrant [for the entire house] in which Keith Gasque resided with his mother.” (/d. at 13.)* But
it did. See United States v. Ayers, 924 F.2d 1468, 1480 (9th Cir. 1991) (citations omitted) (“A
search warrant for the entire premises of a single-family residence is valid, notwithstanding the
fact that it was issued based on information regarding the alleged illegal activities of one of several
occupants of a residence.”). In short, counsel reasonably eschewed pursuing a frivolous motion to
suppress. Because Wills fails to demonstrate deficiency or prejudice, Claim One will be
DISMISSED.

In a related vein, in Claim Three, Wills faults counsel for failing to pursue a conditional

plea which would have allowed Wills to pursue a motion to suppress and litigate any denial of that

2 Wills also passingly refers to a number of other alleged improprieties, but he fails to
demonstrate why they would support a viable basis for suppressing the evidence that gave rise to
Counts Three and Four. For example, he asserts that his arrest “resulted, exclusively, from Regina
Gasque’s involuntary statements following the Fourth Amendment violation of her privacy.” (ECF
No. 130, at 10.) Wills fails to articulate how he could seek relief based on a violation Reginia
Gasque’s rights. Rakas v. Illinois, 439 U.S. 128, 133 (1978) (emphasizing that “Fourth
Amendment rights are personal rights that may not be asserted vicariously”). Additionally, Wills
complains about the towing and search of the vehicles located on the property at 2812 Geneva Dr.
However, the record indicates that no items relevant to the conduct charged in Counts Three and
Four were recovered from these vehicles. (ECF No. 89 4 47.)

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motion. Because any motion to suppress on the grounds urged by Wills would have been frivolous,
Wills fails to demonstrate that counsel performed deficiently by failing to pursue a conditional
plea. Moreover, Wills fails to demonstrate any reasonable possibility that the Government was
willing to extend the same plea offer to Wills, and allow him to retain the right to appeal.
Therefore, Wills fails to demonstrate prejudice. See Lafler v. Cooper, 566 U.S. 156, 168 (2012)
(observing a defendant cannot demonstrate prejudice with respect to a plea offer “[i]f no plea offer
is made’). Accordingly, Claim Three will be DISMISSED.

B. Alleged Error Under Rehaif v. United States, 139 S, Ct. 2191 (2019)

Under 18 U.S.C. § 922(g)(1), it is unlawful for a person “who has been convicted in any
court of[] a crime punishable by imprisonment for a term exceeding one year” to possess a firearm.
A separate provision, 18 U.S.C. § 924(a)(2), requires that anyone who “knowingly violates”
§ 922(g)(1) shall be fined or imprisoned for up to ten years. In Rehaif, the Supreme Court
determined that § 922(g) does not criminalize a defendant’s “innocent mistake” and therefore, a
conviction under § 922(g) requires “knowledge of [the] status” that renders firearm possession
unlawful. 139 S. Ct. 2197. Accordingly, Rehaif held that “in a prosecution under 18 U.S.C.
§ 922(g) and § 924(a)(2), the Government must prove both that the defendant knew he possessed

a firearm and that he knew he belonged to the relevant category of persons barred from possessing

a firearm.” 139 S. Ct. at 2200 (emphasis added).

3 In Rehaif, ajury convicted the defendant of being an alien unlawfully in the United States
in possession of firearms in violation of § 924(g)(5) and § 924(a)(2). 139 S. Ct. at 2194. As
explained by the United States Supreme Court:

Petitioner Hamid Rehaif entered the United States on a nonimmigrant student visa
to attend university. After he received poor grades, the university dismissed him
and told him that his “‘immigration status’” would be terminated unless he
transferred to a different university or left the country. Rehaif did neither.

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Relying on this holding, Wills contends that his plea colloquy was defective because he
was not informed that the Government had to prove knowledge of prohibited status. Wills
apparently suggests that, because he was unaware of this element of the § 922(g) offense, his plea
was not knowing and voluntary and his conviction must be vacated. However, as discussed
below, Claim Four is procedurally defaulted, and barred from review here.

Wills clearly did not raise his Rehaif claim during his criminal proceedings in this Court or

on direct review. The Government correctly asserts that, absent a showing of cause and prejudice

Rehaif subsequently visited a firing range, where he shot two firearms. The
Government learned about his target practice and prosecuted him for possessing
firearms as an alien unlawfully in the United States ....

Id. at 2194 (internal citations omitted). During his trial, Rehaif objected to the jury instruction
“that the ‘United States is not required to prove’ that Rehaif ‘knew he was illegally or unlawfully
in the United States,’” at the time he possessed the firearm. /d. (citation omitted). The Court
overruled the objection, the jury found him guilty, and Rehaif was sentenced to 18 months of
incarceration. /d. The Eleventh Circuit affirmed his conviction and sentence. /d. at 2195. The
United States Supreme Court reversed, holding that: “To convict a defendant, the Government...
must show that the defendant knew he possessed a firearm and also that he knew he had the
relevant status when he possessed it.” Jd. at 2194.

4 Wills does not specifically argue that Rehaif requires that the Government prove that he
knew his conviction for a crime punishable by a term of imprisonment exceeding one year
accorded him a status barring him from legally possessing a firearm. However, to the extent that
he had, that contention lacks merit. Rehaif does not require the Government to prove that Wills
knew his possession of a firearm was unlawful in addition to proving he “knew he possessed a
firearm and also that he knew he had the relevant status when he possessed it.” 139 S. Ct. 2194.
To the contrary, “the scope of a defendant’s knowledge as required by Rehaif does not extend
beyond the defendant’s relevant status (that he was a felon).” United States v. Jackson, No. 3:17-
810-CMC, 2021 WL 694848, at *8 (D.S.C. Feb. 23, 2021) (quoting Rehaif, 139 S. Ct. at 2194).
Although the Fourth Circuit has not weighed in on this argument, four circuit courts have agreed
that after Rehaif, “the Government must prove only that [the defendant] knew, at the time he
possessed the firearm, that he belonged to one of the prohibited status groups enumerated in
§ 922(g),” United States v. Singh, 979 F.3d 697, 728 (9th Cir. 2020), —not that “he knew his status
prohibited him from owning a firearm.” Jd. at 727; see also United States v. Maez, 960 F.3d 949,
945-55 (7th Cir. 2020) petition for cert. filed, Nos. 20-6129, 20-6226, 20-6227 (U.S. Oct. 19,
2020 & Oct. 28, 2020); United States v. Robinson, 982 F.3d 1181, 1187 (8th Cir. 2020); United
States v. Bowens, 938 F.3d 790, 797 (6th Cir. 2019), cert. denied, 140 S. Ct. 2572 (2020); 140 S.
Ct. 814 (2020).
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or actual innocence, Claim Three is barred from review here because Wills could have raised, but
did not raise, this claim on direct appeal. See Bousley v. United States, 523 U.S. 614, 622-23
(1998); see also United States v. Linder, 552 F.3d 391, 397 (4th Cir. 2009) (internal quotation
marks omitted) (citation omitted) (explaining that a petitioner who waives the right to appeal “is
not precluded from filing a petition for collateral review. But he is precluded from raising claims
that are the sort that could have been raised on appeal.”). The Court need not determine whether
Wills has shown cause, because he clearly suffered no actual prejudice. See United States v. Frady,
456 U.S. 152, 167 (1982).

In order to demonstrate prejudice, Wills must show “a reasonable probability that, but for
[the alleged] errors, he would have not pleaded guilty and would have insisted on going to trial.”
Hill v. Lockhart, 474 U.S. 52, 59 (1985); see United States v. Dominguez Benitez, 542 U.S. 74, 76
(2004) (explaining that defendant can only establish a Rule 11 error affected his substantial rights
by “show[ing] a reasonable probability that, but for the error [at his plea hearing], he would not
have entered the plea”). Notably, Wills does not argue that, but for the Rehaif error, he would
have pled not guilty and insisted on proceeding to trial. For this reason alone, Wills has failed to
meet his burden of establishing actual prejudice. See Greer v. United States, No. 19-8709, 2021
WL 2405146, at *4 (U.S. June 14, 2021).

Moreover, the undisputed evidence establishes that the Government would have easily
demonstrated that Wills was aware of his prohibited status. As the Court inferred in Rehaif, the
Government’s obligation to prove a defendant’s knowledge of his status as convicted felon is
hardly “burdensome,” because “knowledge [of status] can be inferred from circumstantial
evidence.” 139 S. Ct. 2198 (quoting Staples v. United States, 511 U.S. 600, 615 n.11 (1994)); see

United States v. Lavalais, 960 F.3d 180, 184 (Sth Cir. 2020) (“Demonstrating prejudice under
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Rehaif will not be difficult for most convicted felons for one simple reason: Convicted felons
typically know they’re convicted felons. And they know the Government would have little trouble
proving that they knew.”), petition for cert. filed, No. 20-5489 (U.S. Aug. 25, 2020).

In Rehaif, the Supreme Court addressed “what it means for a defendant to know he has
‘violate[d]’ 922(g).” 139 S. Ct. 2195. The Supreme Court set forth four elements that make
possession of a firearm or ammunition unlawful: “(1) a status element (in this case, [being a felon
with a sentence of imprisonment of more than one year]); (2) a possession element (to ‘possess’);
(3) a jurisdictional element (‘in or affecting commerce’); and (4) a firearm element (a ‘firearm or
ammunition’).” Jd. at 2195-96. Only element (1) is at issue in the present case: whether Wills
was aware that he was a felon with a sentence of more than a year at the time he possessed the
firearm. Overwhelming evidence reflects that Wills knew of his felon status at the time of the
firearm offense and the Government easily would have proven that fact if he had insisted on
proceeding to trial. Cf Greer, 2021 WL 2405146, at *7 (“In felon-in-possession cases, a Rehaif
error is not a basis for plain-error relief unless the defendant first makes a sufficient argument or
representation on appeal that he would have presented evidence at trial that he did not in fact know
he was a felon.”). Namely, Wills had been convicted of multiple felonies including possession
with intent to distribute cocaine base by this Court for which he was sentenced to 189 months of
imprisonment and spent multiple consecutive years in prison. (ECF No. 83 § 83.) This same
information dispels any suggestion that Wills’s actual innocence could excuse his default.

Accordingly, Claim Two is defaulted and will be DISMISSED.

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C. Ineffective Assistance of Counsel with Respect to Pursuing an Appeal

In Claim Four (a), Wills contends that counsel was ineffective because “counsel falsely
informed [Wills] that no appeal could be taken.” (/d. at 22.) In support of this contention, Wills
cites to Class v. United States, 138 8. Ct. 798 (2018), which held that a guilty plea alone does not
“bar a criminal defendant from later appealing his conviction on the ground that the statute of
conviction violates the Constitution.” Jd at 801-02. However, Wills also entered into Plea
Agreement in which he expressly waived the right to appeal his conviction and sentence “on any
ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on direct
appeal.” (ECF No. 65 4 4.) Wills fails to demonstrate that he had any issue that fell outside of the
appeal waiver in his Plea Agreement. Accordingly, Wills fails to demonstrate that counsel
performed deficiently. Claim Four (a) will be DISMISSED.

Initially, in his § 2255 Motion, Wills was less than clear as to whether he explicitly and
unequivocally directed counsel to file an appeal. (§ 2255 Mot. 22.) Subsequently, on April 5,
2021, Wills swore that, “on around April of 2019, I explicitly asked attorney Gerald Zerkin to file
an appeal which he refused.” (ECF No. 146, at 1.) The Government has not addressed Claim Four
(b).

The record will be EXPANDED for Claim Four (b) in accordance with the instructions set
forth below. The Court ORDERS Wills to file the following submissions within twenty-five (25)
days of the date of entry hereof:

1. Copies of any records or correspondence which supports his assertion that
he conveyed to counsel his desire to file an appeal;

2. A verbatim statement reciting any communications Wills had with counsel
concerning Wills’s instructions to counsel regarding an appeal. The statement must include
a verbatim account of what Wills said to his attorney, Gerald Zerkin, and the exact
responses from his attorney. The statement must recite the date and locations of any

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conversations that took place. The foregoing statement must be in affidavit form or sworn
under penalty of perjury.

If Wills fails to file a response as directed within the above time period, Claim Four (b) will be
dismissed. Fed. R. Civ. P. 41(b).

Additionally, within forty (40) days of the date of entry hereof Wills’s counsel, Gerald
Zerkin is DIRECTED to provide counsel for the United States with copies of all correspondence
to or from Wills regarding an appeal. Lastly, within that same time period, Mr. Zerkin is
DIRECTED to provide counsel for the United States with a sworn statement about any statements
he had with Wills about pursuing an appeal. Within fifty (50) days of the date of entry hereof, the
United States shall file its response to Claim Four (b) in the form of a motion for summary
judgment or a concession that an evidentiary hearing is necessary to resolve Claim Four (b).

Ill. CONCLUSION

Claims One, Two, Three. and Four (a) will be DISMISSED. The record will be
EXPANDED in conjunction with Claim Four (b). Wills’s Motion to Supplement His Petition
(ECF No. 134) will be GRANTED.

An appropriate Order shall accompany this Memorandum Opinion.

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John A. Gibney, Jr. shee :
Date:2? June 2021 June 2021 United States ae udge
Richmond, Virginia

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